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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

CHRIMAR SYSTEMS, INC.,
d/b/a CMS TECHNOLOGIES and
CHRIMAR HOLDING COMPANY, LLC,
                                                          Civil Action No. 6:18-cv-248
                   Plaintiffs,
                                                          JURY TRIAL DEMANDED
       v.

ANIXTER INC.,
                  Defendant.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Chrimar Systems, Inc. d/b/a CMS Technologies (“Chrimar Systems”) and

Chrimar Holding Company, LLC (“Chrimar Holding”) (collectively, “Chrimar” or “Plaintiffs”)

file this Complaint against Defendant Anixter Inc. (“Defendant”) for infringement of U.S.

Patents Nos. 8,942,107, 9,812,825, 8,902,760, and 9,019,838, and hereby allege as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq.

                                           PARTIES

       2.      Plaintiff Chrimar Systems, Inc. d/b/a CMS Technologies is a Michigan

corporation with a place of business located at 36528 Grand River Avenue, Suite A-1,

Farmington Hills, Michigan 48335.

       3.      Plaintiff Chrimar Holding Company, LLC is a Texas limited liability company

with a place of business located at 911 NW Loop 281, Suite 211-30, Longview, Texas 75604.




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       4.      Chrimar was the first company to employ DC current within a BaseT network in

the early 1990s and has received a number of US patents for this very important technology.

Chrimar continues to market its EtherLock® family of products for asset control, management

and security, including the including the EtherLock® II and EtherLock IDentification (ELID)

products:




http://cmstech.com/security_solutions/products/products.html

       5.      Chrimar’s EtherLock® II product practices certain claims of the `838 Patent, and

the installed ELID/NIC-Stick circuitry practice certain claims of the `107, `760, and `825

Patents. See also http://www.cmspatents.com/.

       6.      Chrimar has entered into numerous non-exclusive licenses for certain equipment

under certain Chrimar patents including certain Power over Ethernet (PoE) equipment designed

for deployment within a BaseT Ethernet network. See, e.g.,

https://realtimepressrelease.com/press-releases-tagged-with/chrimar/.

       7.      Upon information and belief, Defendant Anixter Inc. is a Delaware corporation

having a place of business at 2301 Patriot Blvd Glenview, IL 60026-8020, and can be served




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through its registered agent, Corporation Service Company D/B/A CSC-Lawyers Inc., 211 E. 7th

Street, Suite 620 Austin, TX 78701.

                                JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       9.      Defendant is subject to this Court’s specific and general personal jurisdiction due

to its substantial business in this forum. For example, upon information and belief, Defendant is

subject to the specific personal jurisdiction of this Court because Chrimar’s claims for patent

infringement arise from Defendants’ acts of infringement in the State of Texas. These acts of

infringement include selling infringing products in the State of Texas and placing infringing

products into the stream of commerce through an established distribution channel with full

awareness that substantial quantities of the products have been shipped into the State of Texas.

Therefore, this Court has personal jurisdiction over Defendant under the Texas long-arm statute,

TEX. CIV. PRAC. & REM. CODE § 17.042.

       10.     Venue is proper in this judicial district under 28 U.S.C. § 1400(b). Defendant has

a regular and established places of business in this District at 2800 Quail Run, Suite 100,

Corinth, TX 76208; 1601 Waters Ridge Dr., Lewisville, TX 75057; 1201 LAKESIDE PKWY

Flower Mound, TX and 1605 Crescent Circle, Suite 300, Carrollton, TX 75006, and has

committed and continues to commit acts of infringement in this District. For example,

Defendant’s regular and established place of business in Corinth in this District is a physical

building, depicted below, and according to the Denton County Central Appraisal District is

100% owned by Anixter Inc. See In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).




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https://www.dentoncad.com/home/details?search=680095&year=2018.

       11.     Likewise, Defendant’s regular and established place of business in Lewisville in

this District is a physical building, depicted below, and according to the Denton County Central

Appraisal District is 100% owned by Anixter Inc.


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https://www.dentoncad.com/home/details?search=921434&year=2018.


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        12. Likewise, Defendant’s regular and established place of business in Flower Mound in

this District is a physical building, and, according to the Denton County Central Appraisal

District, is 100% owned by Anixter Inc.




https://www.dentoncad.com/home/details?search=659946&year=2018.

                                       PATENTS-IN-SUIT

       13.     Chrimar Systems is the owner and the assignee of U.S. Patent No. 8,942,107 (the

“`107 Patent”), entitled “Piece of Ethernet Terminal Equipment” and Chrimar Holding holds the

exclusive right to license the `107 Patent. Chrimar has ownership of all substantial rights in the

`107 Patent, including the right to exclude others and to enforce, sue and recover damages for

past and future infringement. A true and correct copy of the `107 Patent is attached as Exhibit A.




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       14.     The `107 Patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       15.     Chrimar Systems is the owner and assignee of U.S. Patent No. 9,812,825 (the

“`825 Patent”), entitled “Ethernet Device” and Chrimar Holding holds the exclusive right to

license the `825 Patent. Chrimar has ownership of all substantial rights in the `825 Patent,

including the right to exclude others and to enforce, sue and recover damages for past and future

infringement. A true and correct copy of the `825 Patent is attached as Exhibit B.

       16.     The `825 Patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       17.     Chrimar Systems is the owner and assignee of U.S. Patent No. 8,902,760 (the

“`760 Patent”), entitled “Network System and Optional Tethers” and Chrimar Holding holds the

exclusive right to license the `760 Patent. Chrimar has ownership of all substantial rights in the

`760 Patent, including the right to exclude others and to enforce, sue and recover damages for

past and future infringement. A true and correct copy of the `760 Patent is attached as Exhibit C.

       18.     The `760 Patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       19.     Chrimar Systems is the owner and the assignee of U.S. Patent No. 9,019,838 (the

“`838 Patent”), entitled “Central Piece of Network Equipment” and Chrimar Holding holds the

exclusive right to license the `838 Patent. Chrimar has ownership of all substantial rights in the

`838 Patent, including the right to exclude others and to enforce, sue and recover damages for

past and future infringement. A true and correct copy of the `838 Patent is attached as Exhibit D.

       20.     The `838 Patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.



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       21.    The `107, `825, `760, and `838 Patents are collectively the “Patents-in-Suit.”

       22.    The Patents-in-Suit generally cover plug and play automation and/or asset control

capabilities employed by certain BaseT Ethernet equipment including powered devices (“PDs”),

power sourcing equipment (“PSEs”), and midspans/injectors that comply with or are compatible

with certain portions of the IEEE Standards commonly referred to as PoE Standards (e.g., the

IEEE 802.3af or IEEE 802.3at standards).

                                   ACCUSED PRODUCTS

       23.    Upon information and belief, Defendant makes, uses, offers to sell, sells, and/or

imports Power over Ethernet powered devices and/or power sourcing equipment. Defendant’s

Accused Products are divisible into two categories.

       24.    The first category is Accused Powered Devices (“Accused PD Products”). The

Accused PDs include devices that receive power via their Ethernet port, such as cameras,

speakers, phones, access points, and keypads. Exemplary explanations of how the Accused PDs

infringe are provided in the patent specific infringement counts below. Defendant sells Accused

PDs from at least the following unlicensed manufacturers: Ascendance Wireless, Inc.; Atlas

Sound; Atlona Technologies; Axis Communications; Azco Technologies; Bluewave Security;

Bolide Technology Group; Bosch Security Systems; Comnet Communication Networks;

Compulan View Technologies; Etherwan Systems; Flir; Geovision; Hikvision; 13 DVR

International, Inc.; IC Realtime LLC; Inaxsys-ICT Security Systems; Ingram Micro (Ubiquiti

Networks); Inova Solutions; Louroe Electronics; Luxul Wireless; Messoa Technologies; On-

Q/Legrand; Openeye; OT Systems; Panduit; Pelco (Schneider Electric Co.); PoE Technologies;

Samsung Techwin; Seco-Larm USA, Inc.; Security Door Controls (SDC Security); Toshiba;




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Verint Video Solutions, Inc.; Vicon Industries, Inc.; Vitek Industral Video Product; Weldex

Corporation; and Xtralis.

        25.    The second category is Accused Power Sourcing Equipment (“Accused PSE

Products”). The Accused PSEs include devices that provide power to other devices by way of an

Ethernet port, such as PoE (Power over Ethernet) switches, midspans/injectors, and network

video recorders (“NVRs”). Defendant sells Accused PSEs from at least the following unlicensed

manufacturers: AESP, Inc.; Altronix; American Fibertek; Antaira Technologies; Ascendance

Wireless, Inc.; Atlona Technologies; Axis Communications; Azco Technologies; BSD

Networks; CBC (America) Corp; Comnet Communications Networks; Etherwan Systems; Flir;

Geovision; Hikvision; 13 DVR International, Inc.; IC Realtime LLC; Inaxsys-ICT Security

Systems; Ingram Micro (Ubiquiti Networks); Interlogix (United Technologies); KBC Networks;

Lan Power Systems; Luxul Wireless; Meridian Technologies; On-Q/Legrand; Openeye; OT

Systems; Panduit; (P3) Preferred Power Products; Razberi Technologies; Speco Technologies;

Veracity; Vigitron, Inc.; Vitek Industrial Video Product; Vivotek; and Zyxel Communications,

Inc.

        26.    Collectively, the Accused PD Products and the Accused PSE Products comprise

the “Accused Products.” Upon information and belief, the Accused Products are offered for sale

and sold throughout the United States, including within this District.

        27.    Upon information and belief, Defendants have purposefully and voluntarily

placed the Accused Products into the stream of commerce with the expectation that these

products will be purchased and used by end users in the United States, including end users in this

District.




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        28.     Upon information and belief, Defendants provide direct and indirect support

 concerning the Accused Products to end users, including end users within this District.

                                     COUNT I
                       INFRINGEMENT OF U.S. PATENT NO. 8,942,107

        29.     Chrimar alleges and hereby incorporates by reference every allegation made in

 the foregoing paragraphs of this Complaint as if each were separately set forth herein.

        30.     In violation of 35 U.S.C. § 271, Defendant has directly infringed and continue to

 directly infringe, both literally and/or under the doctrine of equivalents, the `107 Patent by

 making, using, offering for sale, selling, and/or importing the Accused PD Products in the United

 States, including within this District, that infringe at least claim 103 across claims 6, 16, 56, and

 71, and claim 125 across claims 113 and 122 of the `107 Patent without the authority of Chrimar.

        31.     The identified claims of the `107 Patent are presumed valid.

        32.     Each of the Accused PD Products is a piece of BaseT Ethernet data terminal

 equipment. For example, the representative Toshiba IK-WR31A Network Camera is a device

 that can originate and terminate Ethernet data and Ethernet data transmissions, and is configured

 to communicate with other devices over a BaseT Ethernet network via Ethernet signals.




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 https://objects.eanixter.com/PD518015.PDF, p. 1.

        33.    Each of the Accused PD Products has an Ethernet connector comprising first and

 second pairs of contacts. For example, the representative Toshiba IK-WR31A Network Camera

 has an RJ-45 Ethernet connector (labelled “Ethernet (LAN) port”), which has four pairs of

 contacts:




 https://objects.eanixter.com/PD518015.PDF, p. 2.




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 IEEE 802.3af standard, Figure 33-5

        34.     Each of the Accused PD Products uses an Ethernet connector’s first and second

 pairs of contacts to carry Ethernet communication signals. For example, the pairs of contacts of

 the Ethernet connector of the Toshiba IK-WR31A Network Camera can carry 10BaseT and

 100BaseTX Ethernet communication data signals:




 https://objects.eanixter.com/PD518015.PDF, p. 2.

        35.     Each of the Accused PD Products is a powered-off end device prior to receiving

 any of its operationing power. For example, the Toshiba IK-WR31A Network Camera is a

 powered-off end device when requesting its operating power or when it is not physically

 connected to the network.

        36.     Each of the Accused PD Products has at least one path for the purpose of drawing

 DC current, the at least one path coupled across at least one of the contacts of the first pair of

 contacts and at least one of the contacts of the second pair of contacts of its Ethernet connector.



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 For example, the representative Toshiba IK-WR31A Network Camera claims compliance with

 the IEEE 802.3af standard:



 https://objects.eanixter.com/PD518015.PDF, p. 2.

        37.     The IEEE 802.3af standard explains:




 IEEE 802.3af standard, 33.3.1, Table 33-7, and Figure 33-4 (annotated, emphasis added).

        38.     Each Accused PD Product draws different magnitudes of DC current flow via the

 at least one path, the different magnitudes of DC current flow to result from at least one

 condition applied to at least one of the contacts of the first and second pairs of contacts of its

 Ethernet connector. For example, the representative Toshiba IK-WR31A Network Camera

 claims compliance with the IEEE 802.3af standard. See

 https://objects.eanixter.com/PD518015.PDF, p. 2. IEEE 802.3af explains:




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 IEEE 802.3af standard, 33.3.3

        39.    Each of the Accused PD Products can convey information about itself (e.g., while

 powered-off) via magnitudes of the DC current flow. For example, the representative Toshiba

 IK-WR31A Network Camera claims compliance with the IEEE 802.3af standard. See

 https://objects.eanixter.com/PD518015.PDF, p. 2. IEEE 802.3af explains:

        The Power Sourcing Equipment (PSE) is located at an endpoint or midspan,
        separate from and between the MDIs, and provides power to the Powered Device
        (PD) over the Link Section. The PSE detection protocol distinguishes a compatible
        PD from non-compatible devices and precludes the application of power and
        possible damage to non-compatible devices.”




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 IEEE 802.3af standard, Abstract, Table 33-8, and Table 33-9

        40.     Upon information and belief, discovery will show that the at least one path is

 integrated into each of the Accused PD Products.

        41.     Each of the Accused PD Products (e.g., while powered-off, i.e., without any of its

 operating power) can draw different magnitudes of DC current flow via at least one of the

 contacts of the first and second pairs of contacts of its Ethernet connector. For example, the

 representative Toshiba IK-WR31A Network Camera claims compliance with the IEEE 802.3af

 standard. See https://objects.eanixter.com/PD518015.PDF, p. 2.      The IEEE 802.3af standard

 prescribes the presentation of valid detection signatures by drawing different magnitudes of DC




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 current flow in response to at least one electrical connection (e.g. a voltage or current) applied to

 a contact:




 IEEE 802.3af standard, 33.3.3, Table 33-8, and Table 33-9

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        42.     Upon information and belief, discovery will show that each Accused PD Product

 has at least one path and the at least one path comprises at least two different impedances.

        43.     The DC current can comprise a first magnitude of DC current for a first interval

 followed by a second magnitude of DC current for a second interval, wherein the second

 magnitude is greater than the first magnitude. For example:




 IEEE 802.3af standard, Figure 33C.11

        44.     The first and second magnitudes of DC current can generally be used, for

 example, to distinguish a PD like the Accused PD Products from a non-PD or legacy device, and

 to identify each Accused PD Product’s power requirements.



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        45.     Accordingly, Defendant has and continues to directly infringe the `107 Patent,

 both literally and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a) by

 making, using, offering for sale, selling, and/or importing into the United States the Accused

 Products without the authority of Chrimar.

        46.     Defendant has been on notice of the `107 Patent since at least filing of this

 Complaint. See Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D.

 Tex. 2016).

        47.     In violation of 35 U.S.C. § 271(b), Defendant has indirectly infringed the `107

 Patent by inducing its customers to directly infringe the `107 Patent, both literally and/or under

 the doctrine of equivalents, at least by providing its customers with instructions on using the

 Accused Products and by making, using, offering for sale, selling, and/or importing devices in

 the United States the Accused Products without the authority of Chrimar. For example, the

 representative Toshiba IK-WR31A Network Camera’s Quick Start Guide instructs:




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 IK-WR31A_QSG.pdf, p. 17.

        48.    Upon information and belief, and in violation of 35 U.S.C. § 271(b), Defendant

 has indirectly infringed the `107 Patent by contribution knowing that the Accused Products

 would be combined with other components to infringe the `107 Patent and that the Accused

 Products have no substantial non-infringing use.

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           49.   Unless enjoined by this Court, Defendant will continue to infringe the `107

 Patent.

           50.   Because of Defendant’s infringing activities, Chrimar has suffered damages and

 will continue to suffer damages in the future.

                                     COUNT II
                       INFRINGEMENT OF U.S. PATENT NO. 9,812,825

           51.   Chrimar alleges and hereby incorporates by reference every allegation made in

 the foregoing paragraphs of this Complaint as if each were separately set forth herein.

           52.   The `825 Patent is presumed valid.

           53.   In violation of 35 U.S.C. § 271, Defendant has directly infringed and continue to

 directly infringe, both literally and/or under the doctrine of equivalents, the `825 Patent by

 making, using, offering for sale, selling, and/or importing the Accused PSE Products in the

 United States, including within this District, that infringe at least claims 5, 13, 15, 16, and 17 of

 the `825 Patent without the authority of Chrimar. In further violation of 35 U.S.C. § 271,

 Defendant has directly infringed and continue to directly infringe, both literally and/or under the

 doctrine of equivalents, the `825 Patent by making, using, offering for sale, selling, and/or

 importing the Accused PD Products in the United States, including within this District, that

 infringe at least claims 40, 45, 49, 50, and 64 of the `825 Patent without the authority of Chrimar.

           54.   The Accused PD Products are powered-off BaseT Ethernet devices are configured

 to be interrogated for a predetermined response via at least one direct current (DC) signal prior to

 receiving any of their operating power.

           55.   For example, each Accused PD Product has pairs of contacts of its Ethernet

 connector that are used to carry 10BaseT and/or 100BaseTX Ethernet communication signals.

 Additionally, each Accused PD Product implements Section 33.3.5.1 of the 802.3af standard, or

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 a similar provision of another standard, which defines that a PD is powered off and shall “turn

 on” when certain conditions are met. For example, the representative Toshiba IK-WR31A

 Network Camera datasheet states:




 https://objects.eanixter.com/PD518015.PDF, p. 2.

        56.     Each Accused PD Product complies or is compatible with the portions of the

 IEEE 802.3af standard that prescribe the presentation of valid detection signatures by drawing

 different magnitudes of DC current flow in response to at least one electrical connection (e.g., a

 voltage or current) applied to contacts of an Ethernet connector described in the below excerpts:




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 IEEE 802.3af standard, Abstract, Table 33-8, and Table 33-9

        57.     Each Accused PD Product is a BaseT Ethernet device that comprises an Ethernet

 jack connector. The Ethernet jack connector comprises first and second pairs of contacts (1,2 &

 3,6). Each of the first and second pairs are configured to carry BaseT Ethernet communication

 signals wherein the first pair of contacts consists of a transmit pair of the Ethernet jack connector

 and wherein the second pair of contacts consists of the receive pair of the Ethernet jack

 connector.

        58.     For example, the representative Toshiba IK-WR31A Network Camera has an RJ-

 45 Ethernet connector with four pairs of contacts:




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  https://objects.eanixter.com/PD518015.PDF, p. 2.

          59.   Each Accused PD Product is a BaseT Ethernet device that comprises at least one

 path. The at least one path is for the purpose of drawing at least one direct current (DC) signal.

 The at least one path is coupled across at least one of the contacts of the first pair (1,2) and at

 least one of the contacts of the second pair (3,6) of the Ethernet jack connector.

          60.   For example, because each of the Accused PD Products comply with the PoE

 Standards, each “shall be capable of accepting power on either of two sets of PI conductors (1,2

 & 3,6 or 4,5 & 7,8). The two conductor sets are named Mode A and Mode B. In each four-wire

 connection, the two wires associated with a pair are at the same nominal average voltage. Figure

 33–5 in conjunction with Table 33–7 illustrates the two power modes.” IEEE 802.3af standard,

 p. 49.




  IEEE 802.3af standard, Table 33-7. See also, e.g., 802.3af Standard, p. 30, Figure 33-4 showing

  examples of PDs (referred to as Powered End Stations with respect to Figure 33-4) having paths

  coupled across the contacts of the Ethernet connector to be used for detection and classification.



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  Because each Accused PD Product claims IEEE 802.3af/at compliance or compatibility, each

  has at least one path coupled across the contacts of the Ethernet connector as shown in the

  simplified example below.




  IEEE 802.3af standard, Figure 33-4 (annotated, emphasis added)

        61.     Each Accused PD Product implements detection and classification protocols

 requiring at least one path for the purpose of drawing DC current, the at least one path coupled

 across at least one of the contacts of the first pair of contacts of the Ethernet connector and at

 least one of the contacts of the second pair of contacts of the Ethernet connector as explained in

 the 802.3af standard:




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  IEEE 802.3af standard, 33.3.3

        62.     The Accused PD Products are powered-off BaseT Ethernet devices are configured

 to receive or return at least one direct current (DC) signal via at least one of the contacts of the

 first pair and configured to return or receive the at least one direct current (DC) signal via at least

 one of the contacts of the second pair of the Ethernet connector prior to receiving any of their

 operating power. The predetermined response is carried by at least two different magnitudes in

 the flow of the at least one direct current (DC) signal.

        63.     For example, the below excerpts of the PoE Standards demonstrate that a

 compliant product, such as the Accused PD Products, will draw different magnitudes of DC

 current flow in response to at least one electrical connection applied to a contact, as required to

 comply with the detection and classification protocols.


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 IEEE 802.3af standard, Figure 33C.11 This signature impedance is within the at least one path

 and distinguishes an Accused PD Product from non-PoE Ethernet devices.

        64.     Each of the Accused PD Products is a powered-off BaseT Ethernet device

 wherein the at least one path is physically coupled across at least one of the contacts of the first

 pair of contacts and at least one of the contacts of the second pair of contacts of the Ethernet jack

 connector.

        65.     For example, because each Accused PD Product is 802.3af/at compliant or

 compatible, each has at least one path coupled across the contacts of the Ethernet connector as

 shown in the simplified example below.



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  IEEE 802.3af standard, Figure 33-4 (annotated, emphasis added)

        66.     Each of the Accused PD Products comprises a controller coupled across at least

 one of the contacts of the first pair of contacts and at least one of the contacts of the second pair

 of contacts of the Ethernet jack connector.

        67.     For example, each of the Accused PD Products employs a controller coupled

 across the recited contacts as described above.

        68.     Upon information and belief, discovery will show that each of the Accused PD

 Products has firmware for the controller described above.

        69.     Each of the Accused PSE Products is a piece of BaseT Ethernet equipment

 configured to interrogate for predetermined response via at least one direct current (DC) signal.

        70.     For example, each Accused PSE Product searches the Ethernet data link for PDs

 as required by 802.3af:




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 IEEE 802.3af Standard, 33.2.

        71.     Each Accused PSE Product has an Ethernet jack connector of the BaseT Ethernet

 device. The Ethernet jack connector comprising first and second pairs of contacts, each of the

 first and second pairs configured to carry BaseT Ethernet communication signals wherein the

 first pair of contacts consists of a transmit pair of the Ethernet jack connector and wherein the

 second pair of contacts consists of a receive pair of the Ethernet jack connector.

         72. For example, the representative EtherWAN EX17908A Ethernet Switch is described

  as having 8 10/100/1000BASE-TX PoE ports used to connect to a PD or non-PoE end device

  via a data cable employing modular plugs at each end:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        73.     Each Accused Ethernet PSE Product has at least one direct current (DC) supply

 coupled to at least one of the contacts of the first pair of contacts and at least one of the contacts

 of the second pair of contacts of the Ethernet jack connector.

         74. For example, the representative EtherWAN EX17908A Ethernet Switch’s datasheet

  states that the device has “8 10/100/1000BASE-TX PoE” ports.


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 https://objects.eanixter.com/PD514286.PDF, p. 1. The ports are further described as “[t]he

 IEEE802.3at PoE ports provide up to 30W/port with a total power budget of 240W.” Id. A

 device that is compliant IEEE 802.3at is backwards compatible with IEEE 802.3af. An

 IEEE 802.3af compliant Accused PSE Product must also include a DC supply in order to

 perform detection, classification, and control over the provisioning of a PDs’ operationing

 power:




 IEEE 802.3af standard, 33.2, Table 33-5.

        75.     Each Accused PSE Device is configured to provide or receive at least one direct

 current (DC) signal via at least one of the contacts of the first pair and configured to receive or

 provide the at least one direct current (DC) signal via at least one of the contacts of the second



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 pair of an Ethernet connector, the predetermined response carried by at least two different

 magnitudes in the flow of the at least one direct current (DC) signal.

        76.     For example, each of the Accused PSE products use the magnitude in the flow of

 the current through the loop to interrogate the piece of BaseT Ethernet terminal equipment. For

 example, the representative EtherWAN EX17908A Ethernet Switch’s datasheet explains:




 https://objects.eanixter.com/PD514286.PDF, p. 1. Devices compliant with IEEE 802.3at, such as

 the representative product, interrogate the Ethernet data terminal equipment to determine the

 amount of power (if any) to supply.

        77.     The Accused PSE Products detect the different magnitudes of DC current flow in

 response to at least one electrical connection applied to contacts of an Ethernet connector, as

 required to comply with the detection and classification protocols as illustrated here:




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 IEEE 802.3af standard, Figure 33C.11 This signature impedance is within the at least one path

 and distinguishes a PD Ethernet device from a non-PoE (not a PD) Ethernet device.

        78.     Each of the Accused PSE Products comprise a controller coupled across at least

 one of the contacts of the first pair of contacts and at least one of the contacts of the second pair

 of contacts of the Ethernet jack connector.

        79.     For example, in order for the Accused PSE Products to detect the different

 magnitudes of DC current flow as described above, the Accused PSE Devices necessarily have a

 controller coupled to the recited contacts to perform the detection.

        80.     Upon information and belief, discovery will show that each of the Accused PSE

 Products has firmware for the controller described in paragraphs 77-78.

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        81.     Accordingly, Defendant has and continues to directly infringe the `825 Patent,

 both literally and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a) by

 making, using, offering for sale, selling, and/or importing into the United States the Accused

 Products without the authority of Chrimar.

        82.     Defendant has been on notice of the `825 Patent since at least the filing of this

 Complaint. See Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D.

 Tex. 2016).

        83.     In violation of 35 U.S.C. § 271(b), Defendant has indirectly infringed the `825

 Patent by inducing its customers to directly infringe the `825 Patent, both literally and/or under

 the doctrine of equivalents, at least by providing its customers with instructions on using the

 Accused Products and by making, using, offering for sale, selling, and/or importing devices in

 the United States the Accused Products without the authority of Chrimar. For example, the

 representative Toshiba IK-WR31A Network Camera’s Quick Start Guide instructs:




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 IK-WR31A_QSG.pdf, p. 17.

        84.    Upon information and belief, and in violation of 35 U.S.C. § 271(b), Defendant

 has indirectly infringed the `825 Patent by contribution knowing that the Accused Products

 would be combined with other components to infringe the `825 Patent and that the Accused

 Products have no substantial non-infringing use.

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           85.   Unless enjoined by this Court, Defendant will continue to infringe the `825

 Patent.

           86.   Because of Defendant’s infringing activities, Chrimar has suffered damages and

 will continue to suffer damages in the future.

                                   COUNT III
                      INFRINGEMENT OF U.S. PATENT NO. 8,902,760

           87.   Chrimar alleges and hereby incorporates by reference every allegation made in

 the foregoing paragraphs of this Complaint as if each were separately set forth herein.

           88.   In violation of 35 U.S.C. § 271, Defendant has directly infringed and continue to

 directly infringe, both literally and/or under the doctrine of equivalents, the `760 Patent by

 making, using, offering for sale, selling, and/or importing the Accused Products in the United

 States, including within this District, that infringe at least claims 166, 177, and claim 219 across

 claims 158, 179, and 182 of the `760 Patent without the authority of Chrimar.

           89.   The identified claims of the `760 Patent are presumed valid.

           90.   Each of the Accused PD Products is a piece of BaseT Ethernet terminal

 equipment. For example, the representative Toshiba IK-WR31A Network Camera is a piece of

 BaseT Ethernet terminal equipment.




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 https://objects.eanixter.com/PD518015.PDF, p. 1.

        91.    Each of the Accused PSE Products is a piece of central network equipment. For

 example, the representative EtherWAN EX17908A Ethernet Switch is a piece of central network

 equipment.




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        92.    The Accused Products comprise a BaseT Ethernet system where Ethernet cabling

 can physically connect a piece of BaseT Ethernet terminal equipment to a piece of central

 network equipment. For example, the Toshiba IK-WR31A Network Camera can be physically

 connected to the representative EtherWAN EX17908A Ethernet Switch with an Ethernet cable.




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 https://objects.eanixter.com/PD518015.PDF, p. 2.




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        93.     The Ethernet cabling has at least first and second pairs of conductors used to carry

 BaseT Ethernet communication signals, and the first and second pairs of conductors can

 physically connect between a piece of BaseT Ethernet terminal equipment and a piece of central

 network equipment:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        94.     Each of the Accused PSE Products has at least one DC supply to provide at least

 one DC condition across at least one of the conductors of the first pair of contacts and at least

 one of the contacts of the second pairs of contacts of an Ethernet connector. For example, the

 representative EtherWAN EX17908A Ethernet Switch claims compliance with the IEEE 802.3at

 standard:




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 https://objects.eanixter.com/PD514286.PDF, p. 2.

        95.     A device that is compliant IEEE 802.3at is backwards compatible with

 IEEE 802.3af. An IEEE 802.3af compliant Accused PSE Product must also include a DC supply

 in order to perform detection, classification, and control over the provisioning of a PDs

 operationing power:




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 IEEE 802.3af standard, 33.2, Table 33-5

        96.     Each of the Accused PD Products has at least one path to change impedance

 within a loop formed via at least one of the contacts of the first pair of contacts and the at least

 one of the contacts of the second pair of contacts of the Ethernet connector by changing

 impedance within the at least one path in response to the at least one DC condition across the at

 least one path. For example, the representative Toshiba IK-WR31A Network Camera claims

 compliance with the IEEE 802.3af standard:




 https://objects.eanixter.com/PD518015.PDF, p. 2.

        97.     IEEE 802.3af explains:




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 IEEE 802.3af standard, 33.3.3

        98.    Upon information and belief, discovery will show that the at least one path is

 integrated into each of the Accused PD Products.

        99.    Each of the Accused PD Products is a powered-off end device prior to receiving

 any of its operating power. For example, the representative 1 Toshiba IK-WR31A Network

 Camera is a powered-off Ethernet end device when requesting power or when it is not connected

 to the network.

        100.   Each of the Accused PSE Products can detect at least one impedance condition

 within the loop with the piece of BaseT Ethernet terminal equipment powered-off. For example,

 the representative Toshiba IK-WR31A Network Camera claims compliance with the

 IEEE 802.3af standard. See https://objects.eanixter.com/PD518015.PDF, p. 2.

        101.   IEEE 802.3af explains:

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 IEEE 802.3af standard, 33.2.4

        102.    Each of the Accused PSE Products has an integrated DC power source. For

 example, the representative EtherWAN EX17908A Ethernet Switch’s datasheet explains:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        103.    Each of the Accused PSE Products uses the magnitude in the flow of current

 through the loop to interrogate the piece of BaseT Ethernet terminal Equipment. For example,

 the representative EtherWAN EX17908A Ethernet Switch’s datasheet explains:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        104.    Each of the Accused PD Products relates information about itself to at least one

 impedance condition within the at least one path. For example, each of the Accused PD Products

 relates its power class to an impedance signature within at least one path during classification

 and conveys that information via different magnitudes of DC current in response to an electrical

 condition applied to at least one of the contacts of its Ethernet connector. The Toshiba IK-

 WR31A Network Camera Network Camera, for example, claims compliance with the

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 IEEE 802.3af standard. See https://objects.eanixter.com/PD518015.PDF, p. 2. IEEE 802.3af

 explains:




 IEEE 802.3af standard, 33.3.3

        105.    The information can generally be used, for example, to distinguish a piece of

 Ethernet terminal equipment e.g., a PD like the Accused PD Products from a piece of Ethernet

 terminal equipment that is not a PD, and/or to identify each Accused PD Product’s power

 requirements or class.

        106.    Accordingly, Defendant has and continues to directly infringe the `760 Patent,

 both literally and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a) by

 making, using, offering for sale, selling, and/or importing into the United States the Accused

 Products without the authority of Chrimar.




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        107.    Defendant has been on notice of the `760 Patent since at least filing of this

 Complaint. See Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D.

 Tex. 2016).

        108.    In violation of 35 U.S.C. § 271(b), Defendant has indirectly infringed the `760

 Patent by inducing its customers to directly infringe the `760 Patent, both literally and/or under

 the doctrine of equivalents, at least by providing its customers with instructions on using the

 Accused Products and by making, using, offering for sale, selling, and/or importing devices in

 the United States the Accused Products without the authority of Chrimar. For example, the

 representative Toshiba IK-WR31A Network Camera’s Installation Guide instructs:




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 IK-WR31A_QSG.pdf, p. 17.

        109.   Upon information and belief, and in violation of 35 U.S.C. § 271(b), Defendant

 has indirectly infringed the `760 Patent by contribution knowing that the Accused Products

 would be combined with other components to infringe the `760 Patent and that the Accused

 Products have no substantial non-infringing use.


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           110.   Unless enjoined by this Court, Defendant will continue to infringe the `760

 Patent.

           111.   Because of Defendant’s infringing activities, Chrimar has suffered damages and

 will continue to suffer damages in the future.

                                    COUNT IV
                       INFRINGEMENT OF U.S. PATENT NO. 9,019,838

           112.   Chrimar alleges and hereby incorporates by reference every allegation made in

 the foregoing paragraphs of this Complaint as if each were separately set forth herein.

           113.   In violation of 35 U.S.C. § 271, Defendant has directly infringed and continues to

 directly infringe, both literally and/or under the doctrine of equivalents, the `838 Patent by

 making, using, offering for sale, selling, and/or importing the Accused PSE Products in the

 United States, including within this District, that infringe at least claims 6 and 76 of the

 `838 Patent without the authority of Chrimar.

           114.   The identified claims of the `838 Patent are presumed valid.

           115.   Each of the Accused PSE Products is a piece of central network equipment. For

 example, the representative EtherWAN EX17908A Ethernet Switch is a piece of central network

 equipment.




 https://objects.eanixter.com/PD514286.PDF, p. 1.

           116.   Each of the Accused PSE Products is an Ethernet device. For example, the

 representative EtherWAN EX17908A Ethernet Switch is a central piece of Ethernet equipment:



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 https://objects.eanixter.com/PD514286.PDF, p. 1.

        117.    Each of the Accused PSE Products has at least one Ethernet connector comprising

 first and second pairs of contacts used to carry BaseT Ethernet communication signals. For

 example, the representative EtherWAN EX17908A Ethernet Switch has at least one RJ-45

 Ethernet connector comprising first and second pairs of contacts and is used to carry 10BaseT,

 100BaseTX, and 1000BaseT Ethernet communication signals:




 https://objects.eanixter.com/PD514286.PDF, p. 2.

        118.    Each of the Accused PSE Products is configured to detect different magnitudes of

 DC current flow via at least one of the contacts of the first and second pairs of contacts of its


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 Ethernet connector and configured to control application of at least one electrical condition to at

 least one of the contacts of the first and second pairs of contacts of an Ethernet connector in

 response to at least one of the magnitudes of the DC current flow. For example, the

 representative EtherWAN EX17908A Ethernet Switch claims compliance with the IEEE 802.3at

 standard:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        119.    A device that is compliant IEEE 802.3at is backwards compatible with

 IEEE 802.3af. The IEEE 802.3af standard describes detecting different magnitudes of current

 flow that occur as part of the detection and classification protocols:




 IEEE 802.3af standard, 33.2.4, 33.2.5.1

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        120.    Each of the Accused PSE Products is configured to provide at least one DC

 current via at least one of the contacts of the first and second pairs of contacts of its Ethernet

 connector and configured to detect identifying information within the DC current via the at least

 one of the contacts of the first and second pairs of contacts of its Ethernet connector. For

 example, the representative EtherWAN EX17908A Ethernet Switch claims compliance with the

 IEEE 802.3at standard. See https://objects.eanixter.com/PD514286.PDF, p. 1. A device that is

 IEEE 802.3at compliant is backwards compatible with IEEE 802.3af. The IEEE 802.3af

 standard explains, for example:




 IEEE 802.3af standard, 33.2.5, Figure 33-8, and 33.2.7.1

        121.    The detection and classification protocols employ different magnitudes of current

 flow via specific contacts of an Ethernet connector:

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 IEEE 802.3af standard, 33.2.2, Figure 33-1

        122.    Accordingly, Defendant has and continues to directly infringe the `838 Patent,

 both literally and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a) by

 making, using, offering for sale, selling, and/or importing into the United States the Accused

 Products without the authority of Chrimar.

        123.    Defendant has been on notice of the `838 Patent since at least filing of this

 Complaint. See Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D.

 Tex. 2016).

        124.    In violation of 35 U.S.C. § 271(b), Defendant has indirectly infringed the

 `838 Patent by inducing its customers to directly infringe the `838 Patent, both literally and/or

 under the doctrine of equivalents, at least by providing its customers with instructions on using



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 the Accused Products and by making, using, offering for sale, selling, and/or importing devices

 in the United States the Accused Products without the authority of Chrimar. For example:




 https://objects.eanixter.com/PD514286.PDF, p. 1.

        125.     Upon information and belief, and in violation of 35 U.S.C. § 271(b), Defendants\

 has indirectly infringed the `838 Patent by contribution knowing that the Accused Products

 would be combined with other components to infringe the `838 Patent and that the Accused

 Products have no substantial non-infringing use.

        126.     Unless enjoined by this Court, Defendant will continue to infringe the

 `838 Patent.

        127.     Because of Defendant’s infringing activities, Chrimar has suffered damages and

 will continue to suffer damages in the future.

         APPLICATION FOR PRELIMINARY AND PERMANENT INJUNCTION

        128.     Chrimar alleges and hereby incorporates by reference each and every of the

 allegations made in the foregoing paragraphs of this Complaint as if each were separately set

 forth herein.

        129.     As discussed above, Chrimar was the first company to employ DC current within

 a BaseT network in the early 1990s and has received a number of US patents for this very

 important technology, and continues to market its products including the EtherLock® II and

 ELID products. See http://cmstech.com/security_solutions/products/products.html. Chrimar’s

 EtherLock® II product practices certain claims of the `838 Patent, and the installed ELID/NIC-




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 Stick circuitry practice certain claims of the `107, `760, and `825 Patents. See also

 http://www.cmspatents.com/.

        130.    Upon information and belief, Defendant, unless enjoined, will continue to infringe

 Chrimar’s intellectual property rights in the `107, `825, `760, and `838 Patents as described in

 this Complaint.

        131.    These actions entitle Chrimar to a preliminary injunction and, upon hearing,

 permanent injunction enjoining Defendant and its officers, agents, servants, employees, users,

 and attorneys, and all those persons in active concert or in participation with them from:

        (i)     Making, using, offering to sell, or selling any product that infringes the `107,
                `825, `760, and `838 Patents, including the Accused Products and all other similar
                infringing products; and

        (ii)    Otherwise infringing any rights of Chrimar.

        132.    For these actions, there is no adequate remedy at law. The Patents-in-Suit cover

 the core technology of Chrimar’s and Defendant’s businesses. Defendant’s efficient infringement

 gives them an unfair advantage in the marketplace by allowing Defendant to make infringing

 alternatives available to the marketplace. In view of this, the injury to Chrimar greatly outweighs

 any injury to Defendants that the requested injunction may cause, and the balance of hardships

 tips strongly in favor of Chrimar.

        133.    Further, Chrimar is substantially likely to prevail on the merits of these claims.

 For example, in Chrimar Systems, Inc., et al., v. Alcatel-Lucent Enterprise, USA, Inc., Alcatel-

 Lucent stipulated to infringement of certain claims of the `107, `760, and `838 Patents and the

 jury rejected Alcatel-Lucent’s validity challenge to the `107, `760, and `838 Patent’s claims

 asserted in that case. Civil Action No. 6:15-cv-163-JDL, Dkt No. 349 (Verdict Form, Oct. 10,

 2016), Dkt No. 423 (Final Judgment, February 2, 2017) (E.D. Tex.).



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        134.    Finally, the injunction will not disserve the public interest. Here, the public

 interest favors entry of a permanent injunction because the detrimental effect of inhibiting

 innovation, coupled with the public’s general interest in the judicial protection of property rights

 in inventive technology, outweighs any interest the public has in purchasing cheaper infringing

 products.

        135.    Therefore, Chrimar is entitled to preliminary and permanent injunctive relief

 against Defendant.

                                 ADDITIONAL ALLEGATIONS

        136.    Chrimar has complied with 35 U.S.C. § 287.

                   NOTICE OF REQUIREMENT OF LITIGATION HOLD

        137.    Defendants are hereby notified they are legally obligated to locate, preserve, and

 maintain all records, notes, drawings, documents, data, communications, materials, electronic

 recordings, audio/video/photographic recordings, and digital files, including edited and unedited

 or “raw” source material, and other information and tangible things that Defendants know, or

 reasonably should know, may be relevant to actual or potential claims, counterclaims, defenses,

 and/or damages by any party or potential party in this lawsuit, whether created or residing in

 hard copy form or in the form of electronically stored information (hereafter collectively referred

 to as “Potential Evidence”).

        138.    As used above, the phrase “electronically stored information” includes without

 limitation: computer files (and file fragments), e-mail (both sent and received, whether internally

 or externally), information concerning e-mail (including but not limited to logs of e-mail history

 and usage, header information, and deleted but recoverable emails), text files (including drafts,

 revisions, and active or deleted word processing documents), instant messages, audio recordings


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 and files, video footage and files, audio files, photographic footage and files, spreadsheets,

 databases, calendars, telephone logs, contact manager information, internet usage files, and all

 other information created, received, or maintained on any and all electronic and/or digital forms,

 sources and media, including, without limitation, any and all hard disks, removable media,

 peripheral computer or electronic storage devices, laptop computers, mobile phones, personal

 data assistant devices, Blackberry devices, iPhones, video cameras and still cameras, and any and

 all other locations where electronic data is stored. These sources may also include any personal

 electronic, digital, and storage devices of any and all of Defendant’s agents, resellers, or

 employees if Defendant’s electronically stored information resides there.

         139.    Defendant is hereby further notified and forewarned that any alteration,

 destruction, negligent loss, or unavailability, by act or omission, of any Potential Evidence may

 result in damages or a legal presumption by the Court and/or jury that the Potential Evidence is

 not favorable to Defendant’s claims and/or defenses. To avoid such a result, Defendant’s

 preservation duties include, but are not limited to, the requirement that Defendant immediately

 notify its agents and employees to halt and/or supervise the autodelete functions of Defendant’s

 electronic systems and refrain from deleting Potential Evidence, either manually or through a

 policy of periodic deletion.

                                          JURY DEMAND

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Chrimar demands a trial by

 jury on all issues triable as such.

                                       PRAYER FOR RELIEF

         Chrimar requests that this Court find in its favor and against Defendant, and that this

 Court grant Chrimar the following relief:


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        A.      An adjudication that Defendant has infringed the `107, `825, `760, and `838

 Patents;

        B.      An award of damages to be paid by Defendant adequate to compensate Chrimar

 for Defendant’s past infringement of the Patents-in-Suit and any continuing or future

 infringement through the date such judgment is entered (but in no event less than a reasonable

 royalty in accordance with 35 U.S.C. § 284), including interest, costs, expenses and an

 accounting of all infringing acts including, but not limited to, those acts not presented at trial;

        C.      A preliminary and permanent injunction enjoining Defendant and its officers,

 agents, servants, employees, users, attorneys, and all those persons in active concert or

 participation with Defendant from the acts described in this Complaint;

        D.      Alternatively, an order requiring Defendant to pay an ongoing royalty in an

 amount to be determined for any continued infringement after the date judgment is entered;

        E.      An award of pre-judgment and post-judgment interest to the full extent allowed

 under the law, as well as their costs;

        F.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

 Chrimar’s reasonable attorneys’ fees;

        G.      An award to Chrimar of such further relief at law or in equity as the Court deems

 just and proper.




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 Dated: June 4, 2018                 Respectfully submitted,


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